   Case: 2:19-cr-00053-EAS Doc #: 46 Filed: 01/15/21 Page: 1 of 11 PAGEID #: 176




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

               v.                             Case No. 2:19-cr-53
                                              Judge Edmund A. Sargus, Jr.

ANDREW K. MITCHELL,

               Defendant.


                              AMENDED SCHEDULING ORDER

       The defendant having this date entered a plea of not guilty to the Superseding Indictment

filed in this case, the Court hereby establishes the following schedule that will govern the course

of this case from arraignment to trial.

                                          I. TRIAL DATE

       This case is set for trial on July 26, 2021 at 9:00 A.M. The Final Pretrial Conference is

set for July 16, 2021 at 9:00 A.M. in Room 301. (Jury Questionnaires are available on July 23,

2021 at the Clerk’s Office.) Please contact the Jury Deputy, Frances Green, at (614) 719-3021.

                             II. DISCOVERY AND INSPECTION

       The attorney for the defendant is directed to contact the Assistant United States Attorney

in charge of the prosecution of this case to arrange a meeting for the purpose of resolving all

requests for discovery provided for under the Federal Rules of Criminal Procedure, including

Rule 16. Upon the defendant’s request for Rule 16 discovery, the government shall make the


                                                 1
   Case: 2:19-cr-00053-EAS Doc #: 46 Filed: 01/15/21 Page: 2 of 11 PAGEID #: 177




required disclosure of evidence discoverable under the terms and conditions of Rule 16. The

government shall then file a response to the defendant’s request for discovery within one (1)

week of the filing of the defendant’s request.

        The discovery meeting shall be held as promptly as possible and prior to January 22,

2021. If at any time during the course of these proceedings any party fails to comply with Rule

16, such failure shall be brought to the Court’s attention by a specific motion to compel

discovery. Motions to compel shall be filed one (1) week from the date of a party’s denial of the

initial request.

                                         III. MOTIONS

        All motions of any kind, by the defendant or by the government, shall be filed on or

before June 18, 2021. All motions in opposition shall be filed on or before June 25, 2021.

Reply briefs will not be accepted. Upon the filing of any motion, the movant shall state therein

whether and for what reasons an evidentiary hearing is required. If the Court agrees, an

evidentiary hearing will be scheduled.

                   IV. PLEA NEGOTIATIONS AND PLEA AGREEMENT

        Plea agreement discussions between the Assistant United States Attorney and counsel for

the defendant pursuant to Rule 11 of the Federal Rules of Criminal Procedure shall be

commenced as soon as practicable. If a plea agreement is reached, counsel shall notify the

Court. A change of plea hearing shall be scheduled soon thereafter. Counsel are instructed to

comply with District Order 81-5, which addresses pleas of guilty offered pursuant to a plea

agreement and pleas of guilty offered in the absence of a plea agreement.



                                                 2
     Case: 2:19-cr-00053-EAS Doc #: 46 Filed: 01/15/21 Page: 3 of 11 PAGEID #: 178




                               V. MOTIONS FOR CONTINUANCE

          Any motion for a change of the trial date shall be in writing and shall be made at least ten

(10) days prior to the scheduled trial date. Such motion shall set forth those factors listed in

Title 18, U.S.C. § 3161(h)(7)(B) that the movant contends support the motion.

                                           VI. EXHIBITS

A.        Exhibit Lists

          Unless otherwise ordered, both sides shall submit to the Court’s chambers three (3) typed

copies of a list of the proposed exhibits no later than six (6) business days before the date of trial.

This list shall include the proposed exhibit number and a substantial description of the exhibit.

Both sides shall number their exhibits with Arabic numbers, preceded by the letter prefix “G” for

prosecution or “D” for defense. Finally, exhibit lists shall be three-hole punched. Exhibit lists

are not pleadings that should be filed with the Clerk of Courts.

B.        Trial Exhibits.

          Each party intending to offer exhibits will mark the exhibits prior to the commencement

of the trial. Exhibit labels may be obtained in advance of trial from the Courtroom Deputy or the

Clerk of Courts. Three (3) business days prior to the commencement of trial, counsel shall

provide the original and two copies of exhibits to the Court and one copy to opposing counsel.

The original set of exhibits and the two copies of exhibits to the Court should be three-hole-

punched and placed in notebooks, along with a copy of the exhibit lists previously submitted to

the Court. 1


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    Counsel, by motion, may request a different method of handling exhibits.


                                                   3
   Case: 2:19-cr-00053-EAS Doc #: 46 Filed: 01/15/21 Page: 4 of 11 PAGEID #: 179




       At trial, counsel may not approach a witness to tender an exhibit. Rather, the Courtroom

Deputy will place each exhibit before each witness. In formulating a question to a witness,

counsel shall specify the exhibit number or designation involved, to ensure a clear record.

       Exhibits introduced for the first time during trial, i.e., exhibits used for impeachment,

must be displayed to opposing counsel and the Court for review and then tendered to the

Courtroom Deputy for marking. Counsel shall be prepared to provide copies of such exhibits to

opposing counsel, the Court, and the Court’s law clerk at the time they are presented to a

witness.

       Each counsel is responsible for any exhibits expected to be used during trial. At the end

of each trial session, counsel shall return all original exhibits to the Courtroom Deputy.

                                     VII. STIPULATIONS

       Three (3) copies of any and all stipulations shall be submitted to the Court six (6)

business days before the scheduled trial date.

                                     VIII. VOIR DIRE EXAMINATION

       In the courtroom, prospective jurors will be seated in numerical order, according to the

diagram attached hereto marked “Appendix A.” The whole panel of prospective jurors --

persons seated in the jury box and person seated in the courtroom benches -- will be examined in

one continuous examination.

       Each prospective juror will be assigned a “juror number” by the Clerk’s office. Counsel

will receive a listing of the jurors’ names and numbers prior to jury selection. When

interrogating a juror, counsel should refer to the juror by number only.



                                                 4
   Case: 2:19-cr-00053-EAS Doc #: 46 Filed: 01/15/21 Page: 5 of 11 PAGEID #: 180




       The Court will conduct a preliminary voir dire examination tailored to the issues in the

case. An outline of the Court’s voir dire questioning is attached hereto marked “Appendix B.”

Counsel shall submit questions related to specific subject areas about which they would like to

ask during voir dire examination. Any such questions concerning specific subject areas must be

submitted to the Court before the final pretrial conference. A copy of such questions must be

served on opposing counsel as well.

       During voir dire, counsel shall address their questions to the whole panel. Counsel may

not question an individual juror, unless the answer of a specific juror justifies further inquiry.

Again, jurors shall be addressed only by the number assigned to them by the Clerk’s office.

       Counsel will not be permitted to question jurors individually regarding background

information. This information is contained in juror questionnaire forms, which are on file in the

Clerk’s office. Counsel should examine these questionnaires prior to the commencement of trial.

Counsel may inquire regarding any omission in a juror’s answer to the juror questionnaire or,

after obtaining the Court’s permission, regarding any inquiry justifiably elicited by information

contained in the juror questionnaire.




                                                  5
   Case: 2:19-cr-00053-EAS Doc #: 46 Filed: 01/15/21 Page: 6 of 11 PAGEID #: 181




                                       IX. CHALLENGES

       At the conclusion of the questioning, the Court shall be recessed, at which time counsel

shall retire to chambers to begin the juror challenge process. The entire panel, not just

prospective jurors seated in the jury box, shall be accepted, challenged for cause, and

peremptorily challenged in a continuous sequence with reseating prospective jurors. Counsel

shall not be permitted to return to the courtroom to refresh one’s memories of particular jurors.

It is counsel’s responsibility to determine the current makeup of the jury by reference to the

seating plan.

                                  X. PEREMPTORY CHALLENGES

       Peremptory challenges will be exercised as follows:

       (A)      United States exercises its first challenge

       (B)      Defendant exercises his first and second challenges

       (C)      United States exercises its second challenge

       (D)      Defendant exercises his third and fourth challenges

       (E)      United States exercises its third challenge

       (F)      Defendant exercises his fifth and sixth challenges

       (G)      United States exercises its fourth challenge

       (H)      Defendant exercises its seventh and eighth challenges

       (I)      United States exercises its fifth challenge

       (J)      Defendant exercises his ninth challenge

       (K)      United States exercises its sixth challenge



                                                  6
   Case: 2:19-cr-00053-EAS Doc #: 46 Filed: 01/15/21 Page: 7 of 11 PAGEID #: 182




       (L)     Defendant exercises his tenth challenge

       If either party “passes,” (i.e. forgoes to exercise a challenge in the order prescribed), that

party has thereby “used” the challenge.

       After the regular twelve (12) jurors have been fully qualified, and counsel state that they

are satisfied with the jury, the peremptory challenges as to the alternate juror(s) will then be

exercised in the same manner.

                                   XI. JURY INSTRUCTIONS

       Counsel should draft proposed, substantive jury instructions, which state the governing

rules of law with appropriate case citations. An original of the proposed instructions shall be

filed with the Clerk’s office at least six (6) business days before the scheduled trial date.

Counsel shall serve copies of these proposed instructions upon opposing counsel and the Court’s

chambers.

Date: 1/15/2021



                                               s/Edmund A. Sargus, Jr.
                                               Edmund A. Sargus, Jr.
                                               United States District Judge




                                                  7
     Case: 2:19-cr-00053-EAS Doc #: 46 Filed: 01/15/21 Page: 8 of 11 PAGEID #: 183




                             Appendix A: Criminal Jury T rial




35    36       37      38      39

25    26       27      28      29                           30        31   32   33      34

15    16       17      18      19                           20        21   22   23      24


                                                                                7       14
                        Counsel                                 Counsel         6       13
                                                                                5       12
                                          L ectern                              4       11
             Witness                                                            3       10
                                                                                2        9
                               Courtroom Deputy                                 1        8

                               Judge's Bench                                    L aw Clerk




                                               8
   Case: 2:19-cr-00053-EAS Doc #: 46 Filed: 01/15/21 Page: 9 of 11 PAGEID #: 184




                        VOIR DIRE QUESTIONS BY THE COURT
                             Criminal Jury Trial Procedures
                                      Appendix B

       The Court will first conduct a preliminary examination, asking questions similar to those

listed below. After the Court has finished its examination of the jury panel, counsel may elect to

supplement the Court’s examination with questions that do not repeat, in substance, any question

the Court already has posed to the panel.

       1.      Does any panel member have:

               (a)    Any transportation problem? For example, does anyone have difficulty
                      getting to or from the courthouse?

               (b)    Any medical or disability problems, such as difficulty hearing, walking or
                      seeing? Does any other medical problem exist which could affect your
                      service on the jury?

       2.      OUTLINE THE OFFENSE PER INDICTMENT OR INFORMATION

               Does any panel member have prior knowledge or information about the offense(s)
               the defendant(s) is (are) charged with, which I have just explained to you? This
               includes knowledge gained from personal contacts or from the media.

       3.      Does any panel member have any personal interest of any kind in this case, or in
               the defendant(s)?

       4.      The Court and counsel estimated this trial will last days. Does any panel
               member have any immediate family or personal reason or situation which
               persuades you that you cannot serve as a juror during this period and give your
               undivided attention to this case?

       5.      Does any panel member feel bias -- or prejudice -- because the defendant(s) has
               (have) been charged by indictment (information) with an offense(s) against the
               United States?

       6.      Has any panel member formed or expressed any opinion as to the guilt or
               innocence of the defendant(s)?


                                                9
Case: 2:19-cr-00053-EAS Doc #: 46 Filed: 01/15/21 Page: 10 of 11 PAGEID #: 185




    7.    The Court will introduce counsel and defendant(s) in the following order:

          (a)     The government’s counsel – representative

          (b)     The defendant’s counsel - defendant(s)

          (c)     The government’s witnesses

          (d)     The defendant’s witnesses

          Is any panel member related by family or marriage to these individuals? Are you
          personally acquainted with these persons, or do you have any knowledge of them,
          directly or indirectly, through your social, business, professional lives?

    8.    Does any panel member have any feeling -- thought -- inclination --premonition --
          prejudice -- religious belief or persuasion -- or bias -- which might influence or
          interfere with your full and impartial consideration of this case or which might
          influence you either in favor of or against either the defendant(s) or the
          government?

    9.    Is there any reason in your mind why you cannot hear and consider the evidence
          and render a fair and impartial verdict?

    10.   If any panel member has served as a juror in the federal or state court -- either in a
          civil or criminal case--and regardless of the outcome of such case(s), would your
          prior experience have any effect or influence on your ability to serve as a fair and
          impartial juror in this case?

    11.   Can you take the law as the Court instructs you, without any reservation
          whatsoever, and apply the facts to the Court’s instructions on the law? If you
          cannot do this, please hold up your hand.

    12.   Do you recognize and accept the proposition that jurors are the sole judge of the
          facts and the Court is the sole judge of the law? If you cannot do this, please hold
          up your hand.

    13.   If you are selected as a juror in this case can you extend the presumption of
          innocence to this defendant(s); that is, can you presume the defendant(s) is
          innocent of the charge(s) unless and until guilt is established by proof which
          convinces you beyond a reasonable doubt? If you cannot do this, please hold up
          your hand.



                                            10
Case: 2:19-cr-00053-EAS Doc #: 46 Filed: 01/15/21 Page: 11 of 11 PAGEID #: 186




    14.   Are you -- or is any member of your immediate family -- a member of a law
          enforcement agency, i.e. municipal police, county sheriff, state highway patrol, or
          any federal law enforcement agency, either at the present time or in the past?

    15.   QUESTIONS REGARDING CHALLENGES FOR CAUSE

          Can you put that aside, the fact that __________, and decide this case solely on
          the evidence that will be presented in this courtroom and the instructions that I
          give you?

          Stated otherwise:

          Would the fact that __________render you unable to hear and consider the
          evidence so that you could not render a fair and impartial verdict?




                                           11
